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                               PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
                            HABEAS CORPUS BY A PERSON IN STATE CUSTODY



             United States District Court               I District - Ninth       ;"", , ll"\ '"'I
                                                                                                    .,   ll ~ '1   HU
Name: Lisa Marie Roberts                                    I Docket or Case No.~
Place of Confinement:     Coffee Creek Correctional Facility             I Prisoner No.:             14776586

Petitioner                                                Respondent
 Lisa Marie Roberts                          v.           Nancy Howton, CCCF Acting Superintendent

 The Attorney General of the State of Oregon - Hardy Myers, OSB#: 64077



                                                        PETITION

1. (a) Name and location of court that entered the judgment of conviction you are
      challenging: Multnomah County Circuit Court, 021 SW Fourth Ave.. Portland, OR 97204
  (b) Criminal docket of case number: 0208-34931


2. (a) Date of the judgment of conviction: December 1, 2004
  (b) Date of sentencing: December 2, 2004

3. Length of sentence: 180 months

4. In this case, were you convicted on more than one count or of more than one crime? No

5. Identify all crimes of which you were convicted and sentenced in this case:
        ManslauKhter in the First DeKree


6. (a) What was your plea? Guilty
  (b) If you entered a guilty plea to one count or charge and not a guilty plea to another count
      count or charge, what did you plead guilty to and what did you plead not guilty to? N/A
  (c) If you went to trial, what kind of trial did you have? (Check one) N/A


7. Did you testify at a pretrial hearing, trial , or a post-trial hearing? N/A


8. Did you appeal from the judgment of conviction? No
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9. If you did appeal, answer the following:
   (a) Name of court: N/A
   (b) Docket or case number: NIA
   (c) Result: No Colorable Claim of Error Due To Plea Aereement
   (d) Date of result: NIA
   (e) Citation to the case: N/A
   (f) Grounds raised: N/A
   (g) Did you seek further review by a higher state court? N/A
   (h) Did you file a petition for certiorari in the United States Supreme Court? N/A


10. Other than the direct appeals listed above, have you previously filed any other petitions,
   applications , or motions concerning the judgment of conviction in any state court: Yes


11. If your answer to Question 10 was "Yes," give the following information:
    (a) (1) Name of court: Washineton Circuit Court, 145 NE r d Ave.. Hillsboro, OR
            97124
        (2) Docket or case number: C 064204 CV
        (3) Date of filing: November 27, 2006
        (4) Nature of the proceeding: Post-Conviction Relief Petition
        (5) Grounds raised:
        GROUND ONE: Petitioner was denied substantial dehts under the Oreeon constitution and the
        Constitution of the United States, in the followine particulars. which denial render the conviction void.
        Petitioner was denied the assistance of competent counsel in the trial proceedines in violation of her
        riehts to counsel and due process onaw under Article 1, Sections 11 and 13 oftheOreeon
        Constitution. and the Fifth, Sixth. and fourteenth Amendments to the United States constitution in
        that trial counsel rendered ineffective and inadequate assistance by not adequately presentine the
        claims and areuments. This ineffective assistance of counsel. on the merits of the case. denied
        Petitioner (her] dehts under Article 1, Section 9 of the Oreeon Constitution and the Fourth and
        Fourteenth Amendments to the Constitution of the United States. The faUure to Idve adequate
        representation includes, but is not limited to, the followine specific alleeations:
        A. Petitioner's trial counsel failed to fuDy and properly investieate and prepare petitioner's case
        relatine to the facts and circumstances underlyine the charees aeRinst her and,
        B. Trial counsel failed to ensure that petitioner's euUty plea to the charees was voluntary and
        inteUieently made, includine advisine Petitioner as to the consequences of the plea.
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          1. Trial counsel failed to advise petitioner rea:ardina: the nature of a stipulated sentence.
          2. Petitioner did not understand that she was aureeina: to an upward departure sentence and thus
              waivina: any appellate challena:csto a departure sentence. Petitioner would not have aa:reed to
              an upward departure sentence had she been adequately informed.
          3. Trial counsel failed to investiuate and present mitiuatina: evidence at sentencina: and dunna: the
              plea nea:otiation process.
          4. Trial counsel failed to investia:ate petitioner's mental competency at the time of plea entry.
          5. Trial counsel failed to confer with petitioner.
      C. Trial counsel failed to object to the imposition of a mandatory minimum sentence.
      D. Trial counsel failed to object to imposition of an unconstitutional sentence.
      E. Trial counsel failed to challena:e the constitutionality of petitioner's sentence and knew, or should
      have known, of new ''watershed'' rules pendina:before the Orea:on and Federal Courts.
      GROUND TWO: Petitioner's imprisonment is and was unlawful and the trial and sentencina: resulted
      in a substantial denial of petitioner's ria:hts in violation ofORS 138.530 because the trial court failed
      to advise petitioner of the collateral consequences of her conviction, in violation of [her] riUht to ria:ht
      to due process oflaw under Article 1, Sections 9, 11. and 33 ofthe OreJon Constitution and the Fifth.
      Sixth, and Fourteenth Amendments to the United States Constitution as follows:
      A. The trial court exceeded its authority by imposina:a sentence without requirinu a jury
      determination on the requisite facts and without requirina: that those facts be proved beyond a
      reasonable doubt.
      (6) Did you receive a hearing where evidence was given on your petition, application, or
          motion? Yes
      (7) Result: Juda:ment Dismissal With Petitioner Takina: No Relief
      (8) Date of result: PCR = July 18. 2007; Appellate Juda:ment Aua:ust 7, 2008
(b)   If you filed any second petition, application, or motion, give the same information:
      (1) Name of court: N/A
      (2) Docket or case number: NIA
      (3) Date of filing: N/A
      (4) Nature of the proceeding: N/A
      (5) Grounds raised: N/A
      (6) Did you receive a hearing where evidence was given on your petition, application, or motion? N/A
      (7) Result: N/A
      (8) Date of result: N/A
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  (c)   If you filed any third petition, application, or motion, give the same information: NtA
        (1) Name of court: NtA
        (2) Docket or case number: NtA
        (3) Date of filing: NtA

        (4) Nature of the proceeding: NtA
        (5) Grounds raised: NtA

        (6) Did you receive a hearing where evidence was given on your petition, application, or motion? NtA
        (7) Result: NtA

        (8) Date of result: NtA
  (d) Did you appeal to the highest state court having jurisdiction over the action taken on your
        petition, application, or motion?
        First Petition: Yes OreKon Court of Appeals, then      Or~on Supreme        Court; Appellate JudKment - Did
        Trial Court Err In DenyinK Formal Petition For Post Conviction Relief? - Summary Affirmance -
        AUKust 7, 2008
        Second Petition: No
        Third Petition: No
  (e)   If you did not appeal to the highest state court having jurisdiction, explain why you did not: NtA


12. For this petition, state every ground on which you claim that you are being held in violation of the
   Constitution, laws, or treaties of the United States. Attach addition pages if you have more than four
   grounds. State the facts supporting each ground.
   CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your
   available state-court remedies on each ground on which you request action by the federal
   court . Also. if you fail to set forth all the grounds in this petition, you may be barred from
   presenting additional grounds at a later date.


GROUND ONE: Petitioner was denied substantial riehts under the Oregon constitution and the Constitution
of the United States, in the followine particulars, which denial render the conviction void. Petitioner was
denied the assistance of competent counsel in the trial proceedings in violation of her riehts to counsel and due
process oflaw under Article 1, Sections 11 and 13 of the Oregon Constitution, and the Fifth, Sixth, and
fourteenth Amendments to the United States constitution in that trial counsel rendered ineffective and
inadequate assistance by not adequately presentine the claims and areuments. This ineffective assistance of
counsel, on the merits oftbe case. denied Petitioner [herl riehts under Article 1, Section 9 oftbe Or~on
Constitution and tbe Fourth and Fourteenth Amendments to the Constitution oftbe United States.
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(a) Supporting facts: The failure to Kive adequate representation includes, but is not limited to, the followina
specific alle&ations:
        A. Petitioner's trial counsel failed to fully and properly investiaate and prepare petitioner's case
        relatina to the facts and circumstances underlyina the charees aaainst her includina but not limited to:
                1. Trial counsel failed to pursue claim of ACTUAL INNOCENCE.
        B. Trial counsel failed to ensure that petitioner's auilty plea to the charees was voluntary and
        intellieently made, includina advisina Petitioner as to the consequences of the plea.
            1. Trial counsel failed to advise petitioner reeardine the nature of a stipulated sentence.
            2. Petitioner did not understand that she was aareeina to an upward departure sentence and thus
                waivina any appellate challenees to a departure sentence. Petitioner would not have aereed to
                 an upward departure sentence had she been adequately informed.
            3. Trial counsel failed to investiaate and present mitiaatina evidence at sentencina and durine the
                 plea neeotiation process.
            4. Trial counsel failed to investiaate petitioner's mental competency at the time of plea entry.
            5. Trial counsel failed to confer with petitioner.
        C. Trial counsel failed to object to the imposition of a mandatory minimum sentence.
        D. Trial counsel failed to object to imposition of an unconstitutional sentence.
        E. Trial counsel failed to challenee the constitutionality of petitioner's sentence and knew. or should
        have known, of new "watershed" rules pendine before the Ore&0n and Federal Courts.
(b) If you did not exhaust your state remedies on Ground One, explain why:
(c) Direct Appeal of Ground One:
    (1) If you appealed from the judgment of conviction, did you raise this issue? NtA
    (2) If you did not raise this issue in your direct appeal, explain why: No Colorable Claim of Error Due To
         Plea Aareement
(d) Post Conviction Proceedings:
    (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
        Yes. except for claim of Actual Innocence.
    (2) If you answer to Question (d)(l) is "Yes," state:
        Type of motion or petition: Post-Conviction Relief
        Name and location ofthe court where the motion or petition was filed: Washinaton County Circuit Court.
        145 NE Second Ave.. Hillsboro. OR 97124
        Docket or case number: C 064204 CV
        Date of the court's decision: July 18,2007
        Result: Dismissal General For Post~ConvictionRelief With Petitioner Takina No Relief rwtOpinionJ
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   (3) Did you receive a hearing on your motion or petition? Yes
    (4) Did you appeal from the denial of your motion or petition? Yes
    (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? Appealed dismissal of
         Post Conviction Relief.
   (6) If your answer to Question (d)(4) is "Yes," state:
         Name and location of the court where the appeal was filed: Ore2on Court of Appeals, Justice BldK., 1162
         Court St. NE, Salem, OR 97301-2563; Supreme Court Bld2., 1163 State S1. NE, Salem OR 97301-2563
         Docket or case number: A136500, S055944
         Date of the court's decision: April 9. 2008
         Result: Summary Affirmance
    (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue: NtA
(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative
   remedies, etc.) that you have used to exhaust your state remedies on Ground One: Ore2on
   Supreme Court


GROUND TWO: Petitioner's imprisonment is and was unlawful and the trial and sentencin2 resulted in a
substantial denial of petitioner's ri2hts in violation of DRS 138.530 because the trial court failed to advise
petitioner ofthe collateral consequences of her conviction. in violation of [herl riKht to riKht to due process of
law under Article 1, Sections 9, 11, and 33 of the Ore20n Constitution and the Fifth, Sixth, and Fourteenth
Amendments to the United States Constitution.


(a) Supporting facts: The trial court exceeded its authority by imposin2 a sentence without requirinK a jury
determination on the requisite facts and without requirin2 that those facts be proved beyond a reasonable
doubt.
(b) If you did not exhaust your state remedies on Ground Two, explain why:
(c) Direct Appeal of Ground Two:
    (1) If you appealed from the judgment of conviction, did you raise this issue? Nt A
    (2) If you did not raise this issue in your direct appeal , explain why: No Colorable Claim of Error Due To
         Plea A2reement
(d) Post Conviction Proceedings:
    (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
         Yes
    (2) If you answer to Question (d)(l) is "Yes," state:
         Type of motion or petition: Post-Conviction Relief
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        Name and location of the court where the motion or petition was filed: Washin&ton
        County Circuit Court. 145 NE Second St.. Hillsboro, OR 97124
        Docket or case number: C 064204 CV
        Date of the court's decision: July 18, 2007
        Result: Dismissal General For Post-Conviction Relief With Petitioner Taking No Relief [w/OpinionJ
    (3) Did you receive a hearing on your motion or petition? Yes
    (4) Did you appeal from the denial of your motion or petition? Yes
    (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? Appealed dismissal of
        Post Conviction Relief.
    (6) If your answer to Question (d)(4) is "Yes," state:
        Name and location of the court where the appeal was filed: Oregon Court of Appeals, Justice Bldg.. 1162
    Court St. NE. Salem. OR 97301-2563; Supreme Court Bldg.. 1163 State Sf. NE, Salem OR 97301-2563
        Docket or case number: A136500, S055944
        Date of the court's decision: April 9, 2008
        Result: Summary Affirmance
    (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue: N/A

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative
    remedies, etc.) that you have used to exhaust your state remedies on Ground Two: Oregon
    Supreme Court
GROUND THREE: ACTUAL INNOCENCE - Petitioner's imprisonment is and was unlawful and the
conviction resulted in a substantial denial of petitioner's rights because petitioner is innocent of the crime of
which she has been convicted in violation of [herl right to right to due process of law under Article 1, Sections
9,11, and 33 of the Oregon Constitution and the Fifth, Sixth, and Fourteenth Amendments to the United
States Constitution.

(a) Supporting facts:
    A. Petitioner filed an Alibi Notice (Exhibit B) to the court since alibi evidence was contained within the
        police reports and phone call records.
    B. Petitioner contended her innocence to trial attorney and to post conviction attorney. (See Exhibit A).
    C. Motion In Limine to Suppress Evidence of Certain Cell Towers was wron&fully denied. After the
        discovery of Jerri William's body, and some investigation by detectives in this case, the State sought
        evidence of certain cell tower locations that were associated with calls made by defendant [petitionerJ
        and several other individuals on May 25, 2002. In particular, that evidence of telephone calls relaying
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        off of the cell phone tower located at 2100 Kotobuki Way, Vancouver, WashinKton for the reason that
        police investiKators did not request information from other cell towers in the Vancouver area, nor did
       they request calls for a month's period of time cominK from defendant's cell phone, when they had
        already talked to petitioner on several occasions prior to the time they souKht information reKardinK
        the cell towers in the areas, which was part of discovery, for JudKe Amiton heard the request on July
        24, 2002, and siKned the order specifically requestinK the cell tower information on defendant's cell
        phone from 5:00 a.m. to 1:00 p.m. On 5/25/02. It came tot he attention of the defendant that the cell
        phone companies do not keep the records on cell towers for more than one year. Therefore, by the
       time defendant was finally considered by the OreKon State Hospital as able to aid and assist in her
        own defense, which was January 2004, and followinK that time counsel was appointed in March 2004.
        that time period had elapsed and the information concerninK other cell towers, or even the cell tower
        on 2100 Kutobuki Way was no 10nKer available in order to allow defendant [petitioner] to adequately
        investiiate whether or not cell calls made from the area of the national KUard station at NE 33 rd and
        Marine Drive. where Petitioner worked at various times includini May 4-5. 2002. where she injured
        her wrist, were bounced off of the 2100 Kutobuki Way.
    D. Trial counsel failed to locate a witness who may have had exculpatory information. AccordinK to trial
        counsel, the defense team did investiiate this case and counsel's investiiators "did have information
        about a possible person who saw another individual who may have been the deceased or her assailant
        and we did talk with several people about this... but the information obtained from this source did not
        exculpate petitioner."
(b) If you did not exhaust your state remedies on Ground Three, explain why:
(c) Direct Appeal of Ground Three:
    (1) If you appealed from the judgment of conviction, did you raise this issue? No
    (2) If you did not raise this issue in your direct appeal, explain why: No Colorable Claim of Error Due To
        Plea AKreement
(d) Post Conviction Proceedings:
    (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
        No
    (2) If you answer to Question (d)(l) is "Yes," state:
        Type of motion or petition: NtA
        Name and location of the court where the motion or petition was filed: Nt A
        Docket or case number: Nt A
        Date of the court's decision: N/A
        Result: NtA
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    (3) Did you receive a hearing on your motion or petition? NtA
    (4) Did you appeal from the denial of your motion or petition? NtA
    (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? NtA
    (6) If your answer to Question (d)(4) is "Yes," state:
        Name and location ofthe court where the appeal was filed: NtA
        Docket or case number: NtA
        Date of the court's decision: NtA
        Result: NtA
    (7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue: NtA


(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative
    remedies, etc.) that you have used to exhaust your state remedies on Ground Three: NtA
13. Please answer these additional questions about the petition you are filing:
    (a) Have all grounds for relief that you have raised in this petition been presented to the highest state court
        having jurisdiction? No
        If your answer is "No," state which grounds have not been presented and give your reason(s) for not
        presenting them: Ground Three was not raised because ineffective counsel failed to raise claim of
        actual innocence.
    (b) Are there any grounds in this petition that have not been presented in some state or federal court? If so,
        which ground or grounds have not been presented, and state your reasons for not presenting them: NtA
14. Have you previously filed any type of petition, application, or motion in a federal court regarding the
   conviction that you challenge in this petition? No
   If "Yes," state the name and location of the court, the docket or case number, the type of
   proceeding, the issues raised, the date of the court's decision, and the result for each petition,
   application, or motion filed. Attach a copy of any court opinion or order, if available. See Exhibit C and D

IS. Do you have any petition or appeal now pending (filed and not decided yet) in any court, either
    state or federal, for the judgment you are challenging? No
    If "Yes," state the name and location of the court, the docket or case number, the type of
    proceeding and the issues raised. NtA


16. Give the name and address , if you know, of each attorney who represented you in the
   following stages of the judgment you are challenging:
    (a) At preliminary hearing: Kenneth Walker, OSB# 821371, and Ulanda Watkins, OSB# 96451, Walker,
        Warren & Watkins, 838 SW}"\ Ave Ste 500, Portland, OR 97204
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    (b) At arraignment and plea: Ronald Fishback, OSB# 82137, Calhoun & Fishback PC, 610 SW Alder St
        Ste 803, Portland, OR 97205,; ChanKed to Charles Steven Smith, OSB#            ,
   (c) At trial: William Brennan, OSB# 790196, PO Box 14708, Portland, OR 97214 and Jane Claus, OSB#
        90232 Chan2ed to Patrick Sweeney, OSB# 961200, Patrick John Sweeney PC, 6500 SW Macadam
        Ave, Ste 300, Portland, OR 97239
   (d) At sentencing: William Brennan, OSB# 790196, PO Box 14708, Portland, OR 97214 and Jane Claus,
        OSB# 90232 and Patrick Sweeney, OSB# 961200, Patrick John Sweeney PC, 6500 SW Macadam Ave,
        Ste 300, Portland, OR 97239
    (e) On appeal: N/A
   (f) In any post-conviction proceeding: Vicki Vernon, OSB# 891338, Nachtiual, Eisenstein & Asst., 101 SW
        Washinuton St, Hillsboro, OR 97123; Chanued to James Varner, OSB#891320, PO Box 815, NewberK,
        OR 97132
   (g) On appeal from any ruling against you in a post-conviction proceeding: James Varner, OSB#891320, PO
        Box 815, Newber 2, OR 97132

17. Do you have any future sentence to serve after you complete the sentence for the judgment that
   you are challenging? No
    (a) If so, give name and location of court that imposed the other sentence you will serve in the future: N/A
   (b) Give the date the other sentence was imposed: N/A
   (c) Give the length of the other sentence: N/A
   (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in
        the future? No
18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you
    must explain why the one-year statute of limitations as contained in
   28 U.S.C. § 2244(d) does not bar your petition." Post Conviction Relief information/documents were turned
over to Coffee Creek Correctional Facility (a State aKency) inmate leua) assistant who erroneously indicated
to Petitioner that she had "two years to fIle" without informinK her of the Federal statute of limitations.
Subsequently, because the Petitioner was overwhelmed, the Petitioner [she] did not brinu in her paperwork
or request help until!1 months after the Federal statute of limitations had expired and was assured filinK
would be done on time, still not beinK informed her deadline had passed. Petitioner prays her petition will be
accepted, if for no other reason than ber claim of ACTUAL INNOCENCE. Petitioner has proclaimed her
innocence throuKhout her case and Petitioner's trial was delayedat the beuinnin2 due to beinK mentally unable
to assist in her own defense.
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*The Antiterroism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C . § 2244(d)
provides in part that:


 (1) A one-year period oflimitation shall apply to an application for a writ of habeas corpus by a person in custody
      pursuant to the judgment of a State court. The limitation period shall run from the latest of -
             (A) The date on which the judgment became final by the conclusion of direct review or the expiration of
                 the time seeking such review;
             (B) The date on which the impediment to filing an application created by State action in violation of the
                 Constitution or laws of the United States is removed, if the applicant was prevented from filing by
                 such state action;
             (C) The date on which the constitutional right asserted was initially recognized by the Supreme court, if
                 the right has been newly recognized by the Supreme Court and made retroactively applicable to
                 cases on collateral review; or
             (0) The date on which the factual predicate of the claim or claims presented could have been discovered
                 through the exercise of due diligence.
 (2) The time during which a properly filed application for State post-conviction or other collateral
     review with respect to the pertinent judgment or claim is pending shall not be counted toward any
      period of limitation under this subsection.

Therefore, petitioner asks that the Court grant the following relief: Vacate conviction and sentence, or
eliminate post-prison supervision upon release, or any other relief to which petitioner may be entitled.

                                                            Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of'perjury that the foregoing is true and correction and
this Petition for Writ of Habeas Corpus was placed in the prison mailing system on       '!.l ...I-of{
Executed (signed) on     l~ -1-6?5'                   (date).




If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this
petition. N/A


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Lisa M. Roberts
SID # 14776586
Coffee Creek Correctional Facility
POBox 9000
Wisonville, OR 97070

January 28, 2008



James N. Varner
Attorney at Law
PO Box 815
Newberg, OR 97132

RE:    Appeal from Washington County Case No. C064204CV
       Appellate Court No. A136500

Dear Mr. Varner;

Greetings! I am writing to confirm that I do, in fact, wish to pursue the post-conviction appeal. I
believe that I was not properly advised by counsel concerning my plea agreement. In fact, I believed
that I would be sentenced to only 120 months with the ability to earn good time/work credit instead of
the mandatory Measure 11 sentence of 120 months day for day minimum plus an additional 60 months
that I would be eligible to receive good time/work credit for. I would never have agreed to a 180
month sentence that I was forced into taking. I would have stood my chances at a jury trial. Now, the
first 10 years of my sentence is day for day. I am eligible for nothing in lieu of my good behavior and
any attempt to redeem myself. Then, after serving the initial 10 years (which is a good long time) I
then, and only then, become eligible to earn 20% off of the additional above the board non Measure 11
sentence of 5 more years.

Also, I want you to look at the cell phone records that I have been requesting from my trial counsel. I
believe that these records could show that my whereabouts were not near the park where I am accused
of this crime. This needs to be looked into. I requested this in the past and I am still requesting this as
I feel it bears the weight of not only my innocence, but also the improper way that my trial attorney
failed me in the first place. Clearly he did not investigate the allegations brought against me and he did
not take the time to investigate, instead rushed me into a plea acceptance that was not what I wanted
nor had a clear understanding of.          .

Thank you for your assistance in this matter. I am in great hopes that you can and will represent me in
a fair and zealous manor. I also hope and pray that you take what I am saying with great interest and
aid me in the pursuit of this appeal. I do look forward to hearing from you in the very near future.

Sincerely,



Lisa M. Roberts
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                    8                      IN THE CIRCUIT COURT FOR THE STATE OF OREGON

                    9                                  IN THE COUNTYOF MUL1NOMAH
                    10
                           STATE OF OREGON                                      )
                                                                                                         1         ENTERED               f
                    11
                                          Plaintiff,
                                                                                )
                                                                                )        No. C 0208-34911         NOV      30 2004   I
                                                                                                                                     .
                    12
                    13            v.
                                                                                )
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                                                                                                               ~N REGiSTER BY SR •.
                                                                                                                                     J
                    14 USA MARIE ROBERTS,                                       )
                                                                                )
                    15                    Defendant.                            )
                    16
                                  COMES NOW the defendant herein and gives notice of an alibi defense, pursuant to
    """I
                . 17
I      -.   I
                           the requirements of ORS 135.455. This notice is being given five days or more before the
                I   18
                           commencement of the trial in this case. There is no specific list attached to this notice in that
                    19
                    20 the alibi evidence or issues is contained within the police reports and phone call records
                    21 provided by the state in response to defendant's discovery motion(s).
                    22
                                  Dated this 291h day of November, 2004.                  '~/~
                    23
                                                                              ~#~~~~
                    24                                                        William S. Brennan, OSB 79019
                                                                              Of Attorneys for Defendant.
                    25
                    26

                        Page: 1 ALIBI NOTICE                                                                               Roberts
                                                                     William S. Brennan
                                                                  DSB# 79019 WSB#19626
                                                                       Attor~ at Law
                                                                                                         /10         '.,
                                                                        P.D.Box 14708
                                                                   Ponl&D.d. Oregon 97,293
                                                          Telephone (503) 231·1611Fax (503) 231·2759
         Case 3:08-cv-01433-MA       Document 3      Filed 12/09/08    Page 14 of 15




                IN THE SUPREME COURT OF THE STATE OF OREGON

                                 LISA MARIE ROBERTS,
                                   Petitioner-Appellant,
                                   Petitioner on Review,

                                              v.
         WILLIAM HOEFEL, Superintendent, Coffee Creek Correctional Facility,
                            Defendant-Respondent,
                            Respondent on Review.


                                     Court of Appeals
                                          A136500
                                          5055944
                               ORDER DENYING REVIEW

Upon consideration by the court.

The court has considered the petition for review and orders that it be denied.



           June 18, 2008
                DATE                                     CHIEF JUSTICE




c:   ~mes N V~rner
     Kathleen Cegla

vb/S055944odprOB0618




ORDER DENYING REVIEW
         REPLIES SHOULD BE DIRECTED TO: State Court Administrator, Records Section ,
               Supreme Court Building, 1163 State Street, Salem , OR 97301-2563
                                          Page 1 of 1
        Case 3:08-cv-01433-MA      Document 3      Filed 12/09/08   Page 15 of 15
                                                                              blti),i f l)
              IN THE COURT OF APPEALS OF THE STATE OF OREGON

                                LISA MARIE ROBERTS,
                                  Petitioner-Appellant,

                                            v.
         WILLIAM HOEFEL, Superintendent, Coffee .Creek Correctional Facility,
                            Defendant-Respondent.


                    Washington County Circuit Court No. C064204CV

                             Court of Appeals No. A136500


                         ORDER OF SUMMARY AFFIRMANCE

       Before Wollheim, P. J., and Schuman and Rosenblum, JJ.

        Respondent has moved pursuant to ORS 138.660 for summary affirmance on the
 ground that the appeal does not present a substantial question of law. The motion is
·g ranted.

      Affirmed.




          APR - 9 ZUD8
                  Date



          DESIGNATION OF PREVAILING PARTY AND AWARD OF COSTS
Prevailing party: Respondent                     [Xl Costs allowed, payable by: Appellant

                                   MONEY AWARD
             Judgment #1
Creditor(s): William Hoefel, Superintendent, 'Coffee Creek Correctional Facility
Attorney:    Kathleen Cegla, 1162 Court St NE, Salem OR 97301
Debtor(s):   Lisa Marie Roberts
Attorney:    James N. Varner
Costs:                   $100.00
TOTAL AMOUNT:            $100.00
Interest: Simple, 9% per annum, from the date of this appellate judgment.

Appellate Judgment                                                    COURT OF ApPEALS
Effective Date: August 7,2008                                             (seal)

  APPELLATE JUDGMENT and SUPPLEMENTAL JUDGMENT
